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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT                                                       FILED
                                                                for the                                                  Jul 31 2023

                                                                                                                        Mark B. Busby
                                                    Northern District
                                                  __________  DistrictofofCalifornia
                                                                           __________                             CLERK, U.S. DISTRICT COURT
                                                                                                               NORTHERN DISTRICT OF CALIFORNIA
                                                                                                                       SAN FRANCISCO


                  United States of America                         )
                             v.                                    )
                                                                   )      Case No.3:23-mj-71146 MAG
 Carol Reanes-Moreno (a.k.a. Carol Reanos-Moreno,
  a.k.a. Carol Betzada Reanos-Moreno, a.k.a. Fany                  )
                      Moreno)                                      )
                                                                   )
                                                                   )
                          Defendant(s)


                                                  CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                    June 27, 2023               in the county of           San Francisco                       in the
     Northern          District of            California       , the defendant(s) violated:

            Code Section                                                     Offense Description
21 U.S.C. §§ 841(a)(1), (b)(1)(C)               Possession with Intent to Distribute a Mixture or Substance Containing a
                                                Detectable Amount of Fentanyl




         This criminal complaint is based on these facts:
Please see attached affidavit of DEA Special Agend Edmund Ian Sharp




         ✔ Continued on the attached sheet.
         u

                                                                                              /s/ Edmund Ian Sharp
                                                                                              Complainant’s signature
                                                   $SSURYHGDVWRIRUP
                                                                                   Edmund Ian Sharp, DEA Special Agent
                                             V&KULVWRIIHU/HH$86$
                                                                                               Printed name and title

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           Telephone
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Date:             07/28/2023
                                                                                                 Judge’s signature

City and state:                         San Francisco, CA                         Hon. Alex G. Tse, U.S. Magistrate Judge
                                                                                               Printed name and title
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                AFFIDAVIT IN SUPPORT OF AN APPLICATION FOR AN
                   ARREST WARRANT AND CRIMINAL COMPLAINT



       I, Edmund Ian Sharp, a Special Agent with the Drug Enforcement Administration (DEA),

being duly sworn, hereby declare as follows:

                                        INTRODUCTION

       1.      I make this affidavit in support of an application for an arrest warrant and criminal

complaint charging Carol Reanes-Moreno (a.k.a. Carol Reanos-Moreno, a.k.a. Carol Betzada

Reanos-Moreno, a.k.a. Fany Moreno) (“Reanes-Moreno”) with 21 U.S.C. §§ 841(a)(1),

(b)(1)(C), based on her possession with intent to distribute a mixture or substance containing a

detectable amount of N-phenyl-N-ௗ>-ௗ ௗ-SKHQ\OHWK\Oௗ ௗ-4-piperidinyl ] propenamide (fentanyl),

occurring on or about June 27, 2023, in San Francisco, California, in the Northern District of

California.

                                SOURCES OF INFORMATION

       2.      The facts in this affidavit come from my personal observations, my training and

experience, information from records and databases, and information obtained from other agents,

officers, and witnesses. Where statements made by other individuals (including other Special

Agents and law enforcement officers) are referenced in this Affidavit, such statements are
described in sum and substance and in relevant part. Similarly, where information contained in

reports and other documents or records is referenced in this Affidavit, such information is also

described in sum and substance and in relevant part.

       3.      Because this Affidavit is submitted for the limited purpose of establishing

probable cause for a criminal complaint and arrest warrant, I have not included each and every

fact known to me about this case. Rather, I have set forth only the facts that I believe are

necessary to support probable cause for a criminal complaint and arrest warrant. My


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understanding of the facts and circumstances of the case may evolve as the investigation

continues.

                                  AFFIANT BACKGROUND
       4.      I am a Special Agent of the Drug Enforcement Administration (“DEA”) and have

held this position since September 2019. I am currently assigned to the DEA Resident Office in

San Francisco, California. I am an “investigative or law enforcement officer of the United

States” within the meaning of 18 U.S.C. § 2510(7). I am empowered by law to conduct

investigations, to execute search warrants, and to make arrests for offenses of Federal law,

including drug offenses.

       5.      In January 2020, I completed the DEA’s 18-week specialized law enforcement

training course at the DEA’s Training Academy in Quantico, Virginia. The training covered all

aspects of drug investigations, including the identification of controlled substances, physical and

electronic surveillance, utilization of confidential sources, interview techniques, undercover

operations, financial investigations, money laundering techniques, and the general operation of

drug trafficking organizations.

       6.      Prior to my employment with the DEA, I was on active duty with the United

States Coast Guard for approximately four years. For more than two of those years, I was a

member of my unit’s law enforcement team and directly participated in more than a dozen

narcotics interdiction operations. These operations primarily involved intercepting drug-

smuggling boats in the Eastern Pacific Ocean. These interdictions frequently involved the

seizure of hundreds of kilograms of controlled substances. Over the course of my deployments, I

was involved in the seizure of several metric tons of controlled substances. In that assignment, I

became familiar with various practices of drug traffickers, such as the methods used for

packaging, hiding, transporting, and smuggling narcotics.

       7.      During the course of my law enforcement career, I have participated in numerous

drug trafficking investigations. I have participated in multiple interviews with persons involved

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in drug trafficking. In addition, I have spoken with more experienced law enforcement officers

concerning the methods and practices used by drug traffickers. I have participated in many

aspects of drug investigations including, but not limited to, controlled purchases of narcotics,

physical and electronic surveillance, and the execution of search warrants. I have previously

served as the affiant for both federal arrest and search warrants.

       8.      I have been involved in the execution of approximately a dozen state and federal

narcotics-related search warrants. As a result, I have encountered and become familiar with the

various tools, methods, trends, paraphernalia, and related articles used by traffickers and
trafficking organizations in their efforts to import, conceal, manufacture, and distribute

controlled substances. I am familiar with the appearance of marijuana, heroin, cocaine,

methamphetamine, fentanyl, and other controlled substances. I am familiar with and aware of

terminology used by illegal drug traffickers concerning narcotics and narcotics dealing.

       9.      Based on my training and experience, as well as conversations I have had with

drug dealers, informants, and experienced law enforcement officers, I have become familiar with

the practices of narcotics traffickers. Specifically, I am familiar with methods that traffickers use

to smuggle, safeguard, transport, and distribute narcotics, and to collect and launder the proceeds

of drug trafficking. These methods include the use of automobiles, wireless communications

devices (such as cellular phones), lookouts and counter surveillance, false or fictitious identities,
coded language, and/or encrypted communications. I know that many drug traffickers use cell

phones to facilitate their drug dealing activities, including to arrange the collection,

transportation, and distribution of narcotics. I also know that many drug traffickers will meet in

person at pre-arranged locations to conduct meetings and transactions in furtherance of their drug

trafficking activities. Many drug dealers utilize such practices to commit crimes while avoiding

detection by law enforcement.

       10.     I have also had discussions with other law enforcement officers and confidential

informants about the packaging and preparation of narcotics, the methods of operation, and

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security measures that are often employed by narcotics traffickers. I have examined

documentation of various methods in which fentanyl and methamphetamine and other illicit

drugs are smuggled, transported, possessed with intent to distribute, and distributed.

        11.    I have personally participated in the investigation discussed in this affidavit. I am

familiar with the facts and circumstances of the investigation through my personal participation

in it based on several investigative techniques, including discussions with agents of the DEA and

with other law enforcement agencies, and review of records and reports relating to the

investigation. Unless otherwise noted, wherever in this affidavit I assert that a statement was
made, the statement is not being recounted verbatim but instead only in substance and in part.

Facts not set forth herein, or in any attached exhibits, are not being relied on in reaching my

conclusion that the requested order should be issued. Nor do I request that this Court rely on any

facts not set forth herein in reviewing this application.

                                    APPLICABLE STATUTE
        12.    Possession of Controlled Substance with Intent to Distribute a Controlled

Substance. Under Title 21, United States Code, Section 841(a)(1), (b)(1)(C) it is unlawful for

any person to knowingly possess with intent to distribute a federally controlled substance. Under

21 C.F.R. § 1308.12, fentanyl is a Schedule II controlled substance.

                            STATEMENT OF PROBABLE CAUSE

        13.    On June 27, 2023, Reanes-Moreno was arrested by DEA agents/San Francisco

Police Department (SFPD) officers near Larkin Street and Golden Gate Avenue, in San

Francisco, California, in the Northern District of California. Based on the facts described below,

I have probable cause to believe that Reanes-Moreno violated 21 U.S.C. §§ 841(a)(1), (b)(1)(C),

based on her possession with intent to distribute a mixture or substance containing a detectable

amount of N-phenyl-N-ௗ>-ௗ ௗ-SKHQ\OHWK\Oௗ ௗ-4-piperidinyl ] propenamide (fentanyl) on that

date.

        14.    On or about June 27, 2023, DEA agents and SFPD officers (SFPD) conducted a

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narcotics spotting operation in San Francisco, in the area of Golden Gate Avenue and Larkin

Street. Based on my training and experience, I know this corner and surrounding area to be an

area known for high volumes of hand-to-hand fentanyl distribution. I personally participated in

this operation and describe it below.

       15.     On or about 4:30 p.m. on this date, from a position of concealment, agents

observed a then-unknown female (later identified as Reanes-Moreno) interacting with subjects

and later observed a hand-to-hand transaction of suspected narcotics on the corner of Larkin

Street and Golden Gate Avenue. Shortly before approximately 5:15 p.m., agents observed a
male approach and hand money to Reanes-Moreno, who in turn handed the male a clear bag

containing a white substance. Reanes-Moreno was wearing a black hooded sweatshirt and

black pants. After this suspected narcotics transaction, Reanes-Moreno took out other

suspected narcotics in clear plastic bags and placed them back in her sweatshirt. In close

proximity to Reanes-Moreno, agents observed a male wearing a backpack, who, based on my

training and experience, appeared to be receiving guidance and/or instructions from Reanes-

Moreno regarding where to walk and stand, which was consistent with this individual being

used as a “holder” of controlled substances. A holder is an individual who holds controlled

substances for a dealer so that the dealer may evade law enforcement detection by not directly

possessing the controlled substances. Law enforcement believed they had witnessed a hand-to-
hand sale of suspected narcotics by Reanes-Moreno and believed that Reanes-Moreno also

possessed additional suspected narcotics for distribution that agents observed her place back in

her sweatshirt. Shortly thereafter, at approximately 5:15 p.m., the other agents and law

enforcement personnel located nearby moved in and contacted Reanes-Moreno and the

bagholder. Still photographs excerpted from the surveillance video recording depicting Reanes-

Moreno’s possession of fentanyl, distribution of fentanyl, and possession of cash following the

transaction, as well as proximity to the bagholder, appear below:



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numerous baggies consistent with packaging and preparing controlled substances for individual

sales.

         17.    A subsequent search of the bagholder’s person revealed suspected fentanyl in two

bags on his person (68.5 grams gross weight, later tested presumptive positive for fentanyl) and

other controlled substances located in a green bag, black backpack, and black Steve Madden

female-style bag, all possessed by the bagholder. Most notably, law enforcement recovered

724.5 grams gross weight of suspected fentanyl in thirteen separate bags from the black Steve

Madden female-style bag and 265.1 grams gross weight of suspected fentanyl in seven separate
bags from the green bag; some of this fentanyl was later field tested and returned a presumptive

positive result for fentanyl using a TruNarc analyzer.

         18.    I later retrieved video footage from the vicinity of Golden Gate Avenue and

Larkin Street for June 27, 2023, from approximately 4:30 p.m. to 5:30 p.m. I reviewed this

footage. The footage reveals the bagholder on scene as of approximately 4:30 p.m., holding the

same black backpack he was wearing when police arrested him on June 27, 2023. The footage

also shows Reanes-Moreno on scene as of approximately 4:30 p.m. She does not appear to be

holding a bag. At or around 4:32 p.m., the bagholder walks west towards 378 Golden Gate

Avenue, at which point he cannot be seen due to a tree blocking the camera’s sight line. At or

around 4:38 p.m., Reanes-Moreno also walks west towards 378 Golden Gate Avenue, at which
point she also cannot be seen. Later, at or around 4:41 p.m., Reanes-Moreno walks east to 366

Golden Gate Avenue, holding a bag containing a white substance. At or around 5:13 p.m., the

bagholder walks west on Golden Gate Avenue and then north on Larkin Street. Reanes-Moreno

is seen following roughly ten to fifteen feet behind the bagholder. The surveillance footage helps

to further establish concerted action between Reanes-Moreno and the bagholder in furtherance

of Reanes-Moreno’s violation of 21 U.S.C. § 841(a)(1), (b)(1)(C) on June 27, 2023.

         July 19, 2023 Spotting Operation and On-Viewed Narcotics Sales

         19.   On July 19, 2023, law enforcement, from a position of concealment, conducted

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       22.     Based on my training and experience, the amounts of controlled substances that

Reanes-Moreno had on her person when arrested on June 27, 2023 were consistent with the

amount possessed for distribution as opposed to mere personal use. Reanes-Moreno had other

indicia of sales, such as the digital scale found on her possession, which drug dealers use to

measure the amount of controlled substances for retail sale, plastic bags, which are used to

package retail amounts of controlled substances for sale, and a large amount of cash, which

reflect the proceeds from the sale of controlled substances. These amount of controlled

substances (possessed both by Reanes-Moreno and by the male bag holder who appeared to be
acting at her direction) on June 27, 2023, the observed hand-to-hand drug transactions made by

Reanes-Moreno on July 19, 2023, as well as the facts and circumstances set forth above, further

supports Reanes-Moreno’s intent to distribute the approximate 98.4 grams gross weight of

fentanyl that Reanes-Moreno possessed at the time of her arrest on June 27, 2023.

                                         CONCLUSION
       23.     Based on the information above, there is probable cause to believe that on or

about June 27, 2023, Reanes-Moreno violated 21 U.S.C. §§ 841(a)(1), (b)(1)(C), based on her

possession with intent to distribute a mixture or substance containing a detectable amount of N-

phenyl-N-ௗ>-ௗ ௗ-SKHQ\OHWK\Oௗ ௗ-4-piperidinyl ] propenamide (fentanyl), specifically the

approximate 98.4 grams gross weight of fentanyl that Reanes-Moreno possessed on her person

on June 27, 2023. Accordingly, I respectfully request that the Court issue a criminal complaint

and a warrant for his arrest.




                                                      /s/ Edmund Ian Sharp
                                                      _________________________________
                                                      Edmund Ian Sharp
                                                      Special Agent
                                                      Drug Enforcement Administration



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Sworn to before me over the telephone and signed by me pursuant to Fed. R. Crim. P. 4.1 and
4(d) on this WKday of July 2023. This complaint and warrants are to be filed under seal.



_________________________________________
 HONORABLE ALEX G. TSE
 United States Magistrate Judge




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